   Case 1:18-cr-00457-AJT Document 22 Filed 01/04/19 Page 1 of 5 PageID# 90




                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )    No. 1:18-CR-457 (AJT)
                                                 )
BIJAN RAFIEKIAN, et al.,                         )
                                                 )
               Defendants                        )

                              GOVERNMENT’S MOTION FOR
                          A TWO-WEEK CONTINUANCE OF TRIAL

       For the reasons that follow, the United States moves the Court for a two-week

continuance of the current February 11, 2019, trial date. The government understands and

shares the Court’s desire to move the case to trial. However, under the current schedule, the

parties will not know until four days prior to trial whether the Court will grant the defendant’s

motion for a continuance. We submit, therefore, that there are compelling reasons for a very

brief continuance, which would be within the Speedy Trial Act.

       First, in order to be prepared to begin trial on February 11, the government would have to

arrange for any out-of-state or foreign witnesses to be present in Alexandria at least a few days

before trial. If the Court were thereafter to grant the defendant’s motion, the expense of the

witnesses’ airfare and lodging would be wasted. The witnesses themselves would have their

personal and professional lives unnecessarily disrupted, perhaps with an attendant loss of

income.

       Further, the Court has ordered the government to file any CIPA § 4 motion by February

1, 2019, with a February 8, 2019, hearing on the motion. Should the government file such a

motion, we expect that the Court will find compelling the government’s reasons for deleting the
   Case 1:18-cr-00457-AJT Document 22 Filed 01/04/19 Page 2 of 5 PageID# 91




discovery. Nonetheless, were the Court to deny the government’s CIPA § 4 motion, that would

necessarily set in motion a number of events that would be virtually impossible to complete in

time for a February 11 trial date.

         For example, even if the government were to turn over the classified information on the

very day of the February 8 hearing, in the three days thereafter all of the following would have to

occur:

         1.      At least one of the defense counsel would have to receive the necessary

         clearances to have access to the classified information, which would require at least an

         abbreviated background investigation;

         2.      The defense then would be required to file a CIPA § 5 notice of any intention to

         use the classified information at trial;

         3.      The government would have to file a motion under CIPA § 6(a) for a

         determination of the use, relevance, or admissibility of that information;

         4.      The Court would have to hold a hearing on the § 6(a) motion;

         5.      Depending upon the Court’s rulings on the government’s § 6(a) motion, the

         government would have to file a CIPA § 6(c) motion for the Court to approve

         substitutions or admissions in place of the disclosure of the classified information;

         6.      The Court would have to hold a hearing on the § 6(c) motion to determine

         whether the government’s proposed substitutions would provide the defendant with

         substantially the same ability to make his defense as would the classified information;

         and




                                                    -2-
   Case 1:18-cr-00457-AJT Document 22 Filed 01/04/19 Page 3 of 5 PageID# 92




       7.      Depending upon the Court’s rulings on the § 6(c) motion, the government perhaps

       would have to file other proposed § 6(c) alternatives requiring additional hearings.

       In the interstices of these events, to ensure that there would be no disclosure of national

security information at trial, the government would have to consult with the “equity holders” in

the Intelligence Community to obtain their approval for the proposed substitutions and

admissions. Finally, depending upon the outcome of any of these events, the government would

have to consider the need to file an interlocutory appeal, pursuant to CIPA § 7.

       The speedy trial date for this case is February 25, 2019. A two-week continuance of the

current trial date would still be within the required seventy days, even without considering any

excludable periods of delay.

       For these reasons, the United States respectfully requests the Court to continue the trial

date for at least two weeks. The attorney for the government has consulted with counsel for the

defense. They do not oppose this motion; however, this was done with the understanding that it

would not prejudice a defense motion for a longer continuance of trial, which they intend to file

as directed by the Court.




                                                -3-
  Case 1:18-cr-00457-AJT Document 22 Filed 01/04/19 Page 4 of 5 PageID# 93




                                               Respectfully submitted,

                                               G. ZACHARY TERWILLIGER
                                               UNITED STATES ATTORNEY


               /s/                       By:                /s/
Evan N. Turgeon                                James P. Gillis
Trial Attorney                                 Virginia Bar No. 65055
Counterintelligence and Export Control         John T. Gibbs
   Section                                     Virginia Bar No. 40380
National Security Division                     Assistant United States Attorneys
United States Department of Justice            The Justin W. Williams
950 Pennsylvania Ave., NW                         United States Attorney=s Office
Washington, DC 20530                           2100 Jamieson Avenue
(202) 353-0176                                 Alexandria, VA 22314
Evan.Turgeon@usdoj.gov                         (703) 299-3700
                                               (703) 299-3982 (Fax)
                                               James.P.Gillis@usdoj.gov
                                               John.Gibbs@usdoj.gov




                                         -4-
   Case 1:18-cr-00457-AJT Document 22 Filed 01/04/19 Page 5 of 5 PageID# 94




                                      Certificate of Service

       I certify that on January 4, 2019, I filed the foregoing using the ECF system, which will

send a copy to defense counsel of record.

                                                     Respectfully submitted,

                                                     G. ZACHARY TERWILLIGER
                                                     UNITED STATES ATTORNEY


                /s/                            By:                /s/
 Evan N. Turgeon                                     James P. Gillis
 Trial Attorney                                      Virginia Bar No. 65055
 Counterintelligence and Export Control              John T. Gibbs
    Section                                          Virginia Bar No. 40380
 National Security Division                          Assistant United States Attorneys
 United States Department of Justice                 The Justin W. Williams
 950 Pennsylvania Ave., NW                              United States Attorney=s Office
 Washington, DC 20530                                2100 Jamieson Avenue
 (202) 353-0176                                      Alexandria, VA 22314
 Evan.Turgeon@usdoj.gov                              (703) 299-3700
                                                     (703) 299-3982 (Fax)
                                                     James.P.Gillis@usdoj.gov
                                                     John.Gibbs@usdoj.gov
